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 8                        UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   No. 2:12-cr-00124-MCE
12              Plaintiff,
13         v.                                    RELATED CASE ORDER
14   KENI RENTA AND JAUWON WILDER,
15             Defendants.
     ___________________________/
16
     UNITED STATES OF AMERICA,                   No. 2:12-cr-00125-MCE
17
                Plaintiff,
18
           v.
19
     CHARLES WILSON,
20
               Defendant.
21   ___________________________/
22
23         The Court has received the Notice of Related Case filed on
24   April 4, 2012.
25         Examination of the above-entitled criminal actions reveals
26   that these actions are related within the meaning of Local Rule
27   123(a) (E.D. Cal. 1997).
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 1   The actions involve many of the same defendants and are based on
 2   the same or similar claims, the same property transaction or
 3   event, similar questions of fact and the same questions of law,
 4   and would therefore entail a substantial duplication of labor if
 5   heard by different judges.     Accordingly, the assignment of the
 6   matters to the same judge is likely to effect a substantial
 7   savings of judicial effort and is also likely to be convenient
 8   for the parties.
 9        The parties should be aware that relating the cases under
10   Local Rule 123 merely has the result that both actions are
11   assigned to the same judge; no consolidation of the action is
12   effected.   Under the regular practice of this court, related
13   cases are generally assigned to the district judge to whom the
14   first filed action was assigned.
15        IT IS THEREFORE ORDERED that the actions denominated
16   2:12-cr-00124-MCE, United States of America v. Keni Renta and
17   Jauwon Wilder, and 2:12-cr-00125-MCE, United States of America v.
18   Charles Wilson are related for all further proceedings.
19        IT IS SO ORDERED.
20
     Dated: April 9, 2012
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22                                    _____________________________
23                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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